Case 3:22-cv-04969-ZNQ-RLS Document 42 Filed 07/14/23 Page 1 of 4 PageID: 361




July 14, 2023

Via Electronic Filing

Hon. Rukhsanah L. Singh, U.S.M.J.
United States District Court for the District of New Jersey
Clarkson S. Fischer Building & US Courthouse
402 East State Street
Trenton, New Jersey 08608

       Re:      Lima Jevremović, et al v. Courville
                Civil Action No: 3:22-CV-04969-ZNQ-RLS

Dear Judge Singh:

       Pursuant to Your Honor’s Order entered July 6, 2023 (Docket Item 39), please find
attached the redacted copy of the Counsel Certification directed to be filed.

       Thank you for your attention to this matter.

Respectfully submitted,

s/Sherri A. Affrunti
Sherri A. Affrunti, Esq.

SAA:mg

Encl.
cc:   All Counsel of Record (via electronic filing w/encl.)
Case 3:22-cv-04969-ZNQ-RLS Document 42 Filed 07/14/23 Page 2 of 4 PageID: 362




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 and Autonomous User Rehabilitation Agent, LLC
                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

 LIMA JEVREMOVIĆ, an individual; Civil Action No: 3:22-cv-04969-ZNQ-RLS
 and AUTONOMOUS USER
 REHABILITATION AGENT, LLC, Document Electronically Filed
 a Delaware Limited Liability
 Company,
                                 CERTIFICATION OF COUNSEL IN
       Plaintiffs,               RESPONSE TO COURT’S ORDER TO
                                 SHOW CAUSE (Docket Item 24)
              vs.

 BRITTANY JEREAM                       [REDACTED PER COURT ORDER
 COURVILLE, an individual,             OF JULY 6, 2023 (Docket Item 39)]

       Defendant.
Case 3:22-cv-04969-ZNQ-RLS Document 42 Filed 07/14/23 Page 3 of 4 PageID: 363




      1.     I am one of the attorneys of record for Plaintiffs Lima Jevremovic (“Ms.

Jevremovic”) and Autonomous User Rehabilitation Agent, LLC (“AURA”)

(together, “Plaintiffs”) in the above-captioned matter. After reasonable

investigation, I certify the following facts, subject to pains and penalties of perjury.

      2.     On May 30, 2023, this Court entered an Order to Show Cause as to why

it has subject matter jurisdiction over the above-captioned dispute (the “Order”).

Therein, the Court instructed, for diversity jurisdiction purposes, that citizenship of

a limited liability company is determined by the citizenship of its members. The

Order provided until June 6, 2023, for Plaintiffs to e-file a certification or Amended

Complaint setting forth a valid basis for jurisdiction, or else this matter would be

dismissed for lack of proper jurisdiction.

      3.     Plaintiffs have filed an Amended Complaint, providing information on

the states of citizenship for AURA’s members. Based on my inquiry of my clients,

Ms. Jevremovic on her own behalf and on behalf of AURA, I have learned that

AURA maintains a membership roll with the names and states of citizenship of each

of its members. They are as follows:

             a.                        , citizen of California;

             b.                          , citizen of Texas;

             c.                   , citizen of Colorado;

             d.                      , citizen of Australia;
                                             2
Case 3:22-cv-04969-ZNQ-RLS Document 42 Filed 07/14/23 Page 4 of 4 PageID: 364
